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                            UNITED STATES DISTRICT COURT

                           EASTERN DISTRICT OF LOUISIANA


OVLAS TRADING, S.A.                        * CIVIL ACTION NO. 08-4681
               Plaintiff,                  *
                                           * SECTION “A”(2)
VERSUS                                     *
                                           * JUDGE JAY C. ZAINEY
SNOW CRYSTAL SHIPPING LTD.                 *
HOLY HOUSE SHIPPING A.B.,                  *
CRITICAL SHIPPING, LTD.,                   *
CAPE REEFERS LTD., UNIVERSAL               *
REEFERS, LTD., HYRAM MARITIME, *
S.A.L., COOPER T. SMITH                    *
STEVEDORING CO., INC., COOPER/             *
CONSOLIDATED, CSA EQUIPMENT                *
COMPANY, L.L.C., & NEW ORLEANS *
COLD STORAGE AND WAREHOUSE                 *
COMPANY, LTD., in personam &               *
M/V SNOW CRYSTAL, her engines,             *
boilers, tackle, furniture, apparel, etc., *
in rem                                     *
                        Defendants.        *
                                           *
**** ************************************************

  NEW ORLEANS COLD STORAGE AND WAREHOUSE COMPANY’S ORIGINAL
                ANSWER TO PLAINTIFF’S COMPLAINT


       NOW COMES Defendant, NEW ORLEANS COLD STORAGE AND WAREHOUSE

COMPANY, LTD. (“NOCS”), and through undersigned counsel, responds to the allegations

contained in Plaintiff’s Complaint, as follows:

                                                  1.

       The allegations contained in Paragraph 1 of Plaintiff’s Complaint are denied for lack of

sufficient knowledge and information to justify a belief therein.
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                                                2.

       The allegations contained in Paragraph 2 of Plaintiff’s Complaint are denied for lack of

sufficient knowledge and information to justify a belief therein.

                                                3.

       The allegations contained in Paragraph 3 of Plaintiff’s Complaint are denied for lack of

sufficient knowledge and information to justify a belief therein.

                                                4.

       The allegations contained in Paragraph 4 of Plaintiff’s Complaint are denied for lack of

sufficient knowledge and information to justify a belief therein.

                                                5.

       The allegations contained in Paragraph 5 of Plaintiff’s Complaint are denied for lack of

sufficient knowledge and information to justify a belief therein.

                                                6.

       The allegations contained in Paragraph 6 of Plaintiff’s Complaint are denied for lack of

sufficient knowledge and information to justify a belief therein.

                                                7.

       The allegations contained in Paragraph 7 of Plaintiff’s Complaint are denied for lack of

sufficient knowledge and information to justify a belief therein.

                                                8.

       The allegations contained in Paragraph 8 of Plaintiff’s Complaint are denied for lack of

sufficient knowledge and information to justify a belief therein.


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                                                9.

       The allegations contained in Paragraph 9 of Plaintiff’s Complaint are denied for lack of

sufficient knowledge and information to justify a belief therein.

                                                10.

       The allegations contained in Paragraph 10 of Plaintiff’s Complaint are denied for lack of

sufficient knowledge and information to justify a belief therein.

                                                11.

       The allegations contained in Paragraph 11 of Plaintiff’s Complaint are denied for lack of

sufficient knowledge and information to justify a belief therein.

                                                12.

       The allegations contained in Paragraph 12 of Plaintiff’s Complaint are admitted insofar as

defendant, NOCS, is a Louisiana Corporation. All other allegations contained in Paragraph 12

are denied.

                                                13.

       In response to Paragraph 13 of Plaintiff’s Complaint, NOCS realleges and incorporates

herein by reference its responses to the allegations contained in Paragraphs 1 through 12 of

Plaintiff’s Complaint.

                                                14.

       The allegations contained in Paragraph 14 of Plaintiff’s Complaint are denied for lack of

sufficient knowledge and information to justify a belief therein.




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                                                15.

       The allegations contained in Paragraph 15 of Plaintiff’s Complaint are denied for lack of

sufficient knowledge and information to justify a belief therein.

                                                16.

       The allegations contained in Paragraph 16 of Plaintiff’s Complaint are denied for lack of

sufficient knowledge and information to justify a belief therein.

                                                17.

       The allegations contained in Paragraph 17 of Plaintiff’s Complaint are denied for lack of

sufficient knowledge and information to justify a belief therein.

                                                18.

       The allegations contained in Paragraph 18 of Plaintiff’s Complaint are denied for lack of

sufficient knowledge and information to justify a belief therein.

                                                19.

       The allegations contained in Paragraph 19 of Plaintiff’s Complaint are denied for lack of

sufficient knowledge and information to justify a belief therein.

                                                20.

       In response to Paragraph 20 of Plaintiff’s Complaint, NOCS realleges and incorporates

herein by reference its responses to the allegations contained in Paragraphs 1 through 12 and 14

through 19 of Plaintiff’s Complaint.

                                                21.

       The allegations contained in Paragraph 21 of Plaintiff’s Complaint are denied as written.


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                                              22.

       The allegations contained in Paragraph 22 of Plaintiff’s Complaint are denied as written.

                                              23.

       The allegations contained in Paragraph 23 of Plaintiff’s Complaint are denied as written.

                                              24.

       The allegations contained in Paragraph 24 of Plaintiff’s Complaint are denied as written.

                                              25.

       In response to Paragraph 25 of Plaintiff’s Complaint, NOCS realleges and incorporates

herein by reference its responses to the allegations contained in Paragraphs 1 through 12 and 14

through 19 of Plaintiff’s Complaint.

                                              26.

       The allegations contained in Paragraph 26 of Plaintiff’s Complaint are denied as written.

                                              27.

       In response to Paragraph 27 of Plaintiff’s Complaint, NOCS realleges and incorporates

herein by reference its responses to the allegations contained in Paragraphs 1 through 12 and 14

through 19 of Plaintiff’s Complaint.

                                              28.

       The allegations contained in Paragraph 28 of Plaintiff’s Complaint are denied as written.

                                              29.

       The allegations contained in Paragraph 29 of Plaintiff’s Complaint are denied as written.



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                                                30.

       In response to Paragraph 30 of Plaintiff’s Complaint, NOCS realleges and incorporates

herein by reference its responses to the allegations contained in Paragraphs 1 through 12 and 14

through 19 of Plaintiff’s Complaint.

                                                31.

       The allegations contained in Paragraph 31 of Plaintiff’s Complaint are denied as written.

                                                32.

       In response to Paragraph 32 of Plaintiff’s Complaint, NOCS realleges and incorporates

herein by reference its responses to the allegations contained in Paragraphs 1 through 12 and 14

through 19 of Plaintiff’s Complaint.

                                                33.

       The statement contained in Paragraph 33 of Plaintiff’s Complaint does not require a

response from NOCS. However, out of an abundance of caution, the content of Paragraph 33 is

denied for lack of sufficient knowledge and information to justify a belief therein.

                                                34.

       The allegations contained in Paragraph 34 of Plaintiff’s Complaint do not require a

response from NOCS. However, out of an abundance of caution, the allegations contained in

Paragraph 34 are denied for lack of sufficient knowledge and information to justify a belief

therein.




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                                                35.

       The following four (4) paragraphs appear to be a prayer for relief to which no response is

required. However, out of an abundance of caution, the allegations contained therein are denied

for lack of sufficient knowledge and information to justify a belief therein.

                                                36.

       Any allegations of fact contained in any unnumbered Paragraph of Plaintiff’s Complaint

are denied.

       AND NOW, further answering Plaintiff’s Complaint, NOCS avers as follows:

                                        FIRST DEFENSE

       NOCS hereby gives notice that it intends to rely on such other defenses as they become

available by law or during discovery and hereby reserve its rights to amend its answer to assert

such defenses.

                                      SECOND DEFENSE

       NOCS pleads all statutory and regulatory provisions applicable to the allegations

contained in Plaintiff’s Complaint.

                                       THIRD DEFENSE

       NOCS avers that if Plaintiff sustained any damages, which is specifically denied, Plaintiff

failed and/or breached its duty to mitigate its damages.




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                                      FOURTH DEFENSE

        NOCS avers that if Plaintiff sustained any damages, which is specifically denied,

Plaintiff’s damages are due to Plaintiff’s own fault and lack of ordinary care, reasonable care,

and/or due care.

                                        FIFTH DEFENSE

        NOCS avers that if Plaintiff sustained any damages, which is specifically denied,

Plaintiff’s damages were caused solely through the negligence and/or fault of the Plaintiff and/or

other parties.

                                        SIXTH DEFENSE

        Plaintiff fails to state a cause of action against NOCS.

                                        TENTH DEFENSE

        Plaintiff has no right of action against NOCS.

                                     ELEVENTH DEFENSE

        NOCS owed no duty to the Plaintiff. To the extent NOCS owed a duty to Plaintiff, which

is denied, Defendant did not breach such duty.

                                     TWELFTH DEFENSE

        Any claim against NOCS is barred, in whole or in part, by the applicable statutes of

limitations, prescriptive, and/or laches, estoppel, or peremption.

                                   THIRTEENTH DEFENSE

        NOCS is not liable for penalties and/or attorney’s fees.




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                                   FOURTEENTH DEFENSE

       NOCS reserves the right to file additional Answers, Third-Party Complaints, and

Counter-Claims, such as the facts may later disclose and require.

       WHEREFORE, after due proceedings be had, Defendant, NOCS, prays that there be

judgment in its favor and against Plaintiff, Ovlas Trading, S.A., dismissing the Complaint at

Plaintiff’s costs, and for all other general and equitable relief to which it may be entitled.

                                       Respectfully submitted,

                                       ABBOTT, SIMSES, AND KUCHLER, APLC

                                       /s/ Janika D. Polk              _________
                                       LAWRENCE E. ABBOTT (La. Bar No. 2276)
                                       JANIKA D. POLK (La. Bar No. 27608)
                                       CHRISTINE CHANGHO BRUNEAU (La. Bar No. 25366)
                                       MICHELE HALE DESHAZO (La. Bar No. 29893)
                                       400 Lafayette Street, Suite 200
                                       New Orleans, LA 70130
                                       Telephone: (504) 568-9393
                                       Fax: (504) 524-1933

                                       ATTORNEYS FOR NEW ORLEANS COLD
                                       STORAGE & WAREHOUSE COMPANY, LTD.




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                             CERTIFICATE OF SERVICE

      I DO HEREBY CERTIFY that I have on this 27th day of October, 2008, served the

foregoing pleading on all known counsel of record electronically through the Court’s ECF

system.


                                        /s/ Janika D. Polk
                                        JANIKA D. POLK




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